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CEDRIC D. WHITESIDE and ) C§§<;O/C§
MALCoLM WHITESIDE, ) V
)
Plaintiffs, )
)
v. ) No.= 04-1220-T/An
)
DAVID WOOLFORK, et al., )
)
Defendants. )

 

RULE 16(b) SCHEDULING ORDER

 

After a review of the pleadings in this case, the court has determined that this order
should be entered for the purposes of scheduling dates for the completion of certain pre-trial

activities; the following dates are established as the final dates for:

FILING MOTIONS TO .IOIN PARTIES: September 15, 2005
FILING MOTIONS TO AMEND PLEADINGS: September 15, 2005
COMPLETING ALL DISCOVERY: November 18, 2005

pursuant to Rules 26-35 and Rule 37
of the Federal Rules of Civil Procedure

FILING PRE-TRIAL MOTIONS of any kind
including Motions for Summary .]udgment: December 16, 2005

This order Will not be modified except upon showing of good cause.

This document entered on the docket sheet' m co

p|iance
with Rule 58 and,‘ or 79 (a) FHCP on

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IT IS SO ORDERED.

MM@.;_
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

Date : /$: 2003/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 1:04-CV-Ol220 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

